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2021R00734/SM

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA Hon. Kohan O4 ) G y bey,
v. Crim. No. 25- Cr _ l 4S tT)
KYSE S. ABUSHANAB 18 U.S.C. §§ 2339C(c)(2)(A) and (d)(2)
: 18 U.S.C. § 2339B(a)(1)
INFORMATION
The defendant having waived in open court prosecution by Indictment, the
United States Attorney for the District of New Jersey charges:
Between in or around March 2021 and in or around January 2022, in the
District of New Jersey and elsewhere, the defendant,
KYSE S. ABUSHANAB,
did knowingly conceal and disguise the nature, location, source, ownership, and
control of material support and resources, knowing and intending that the support
and resources were provided to a designated foreign terrorist organization, namely
the Islamic State of Iraq and Syria (ISIS), contrary to Title 18, United States Code,
Section 2339B(a)(1).

In violation of Title 18, United States Code, Sections 2339C(c)(2)(A) and (d)(2).

Jpn

SOHN GIORDANO
United States Attorney

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CASE NUMBER: 25-

United States District Court
District of New Jersey

UNITED STATES OF AMERICA
v.

KYSE S. ABUSHANAB

INFORMATION FOR

18 U.S.C. §§ 2339C(c)(2)(A) and (d)(2)
18 U.S.C. § 2339B(a)(1)

JOHN GIORDANO
UNITED STATES ATTORNEY
FOR THE DISTRICT OF NEW JERSEY

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